Case 1:16-cr-00430-CCB Document 92-1 Filed 02/05/18 Page 2 of 4

U.S. Department of Justice

United States Attorney

 

 

District of Maryland
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January 23, 2018

Leonard H. Bennett, Esq.
2938 Grendon Lane
Parkville, MD 21234

Re: Discovery Agreement in the Case of
United States v. Mahmood Shah
Criminal No. RDB-16-0430

Dear Mr. Bennett,

1 write to set forth the conditions on which the Government is willing to make discovery
in this case. Under Rule 16 of the Federal Rules of Criminal Procedure, discovery is to be given
“upon request,” and I understand that you do request discovery. Therefore, I also request
discovery pursuant to Rule 16(b).

The Government will provide discovery pursuant to and as defined in Rule 16 on the
following bases.

qi Jencks material as defined in 18 U.S.C. § 3500, along with related Giglio material
such as witness’ plea agreements, criminal convictions and prior inconsistent statements, will be
provided no later than one week prior to trial. Brady material which is not otherwise included in
the Rule 16, Jencks or Giglio material referred to above will be provided if and when discovered.
Jencks material is defined for purposes of this agreement in accordance with the specific
provisions of 18 U.S.C. § 3500. Jencks material is given on agreement that reciprocal Rule 26.2
material will be provided by you at the same time I provide Jencks material.

 

 

 

3. The government agrees that at the same time that it provides Rule 16 material, it
will provide notice of the existence of alleged other crimes, wrongs or acts committed by your
client pursuant to Rule 404(b) of the Federal Rules of Evidence, along with copies of all physical
and documentary evidence believed by the government to fall within the ambit of Rule 404(b)
that the government intends to introduce at trial in its case-in-chief. The government
acknowledges its continuing duty to disclose Rule 404(b) evidence as it is recognized as such
after the time period in which the government has provided Rule 16 material.

4. The government reserves the right to provide later notice of Rule 404(b) material
if the government believes that disclosure of such information will pose a security risk to any
